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  Attorneys for Standlee Ag Resources



                        UNITED STATES BANKRUPTCY COURT DISTRICT OF IDAHO

   In re:                                                      Case No. 24-40158-NGH

   MILLENKAMP CATTLE, INC.,

                   Debtor.

   Filing relates to:
                                                               Jointly Administered With
   ☒ ALL DEBTORS                                               Case Nos.:

   ☐ Millenkamp Cattle, Inc.                                   24-40159-NGH (Idaho Jersey Girls)
                                                               24-40160-NGH (East Valley Cattle)
   ☐ Idaho Jersey Girls                                        24-40161-NGH (Millenkamp Properties)
                                                               24-40162-NGH (Millenkamp Properties II)
   ☐ East Valley Cattle                                        24-40163-NGH (Millenkamp Family)
                                                               24-40164-NGH (Goose Ranch)
   ☐ Millenkamp Properties                                     24-40166-NGH (Black Pine Cattle)
                                                               24-40167-NGH (Millenkamp Enterprises)
   ☐ Millenkamp Properties II
                                                               24-40165-NGH (Idaho Jersey Girls Jerome
   ☐ Millenkamp Family                                         Dairy)

   ☐ Goose Ranch
                                                               Chapter 11 Cases
   ☐ Black Pine Cattle
   ☐ Millenkamp Enterprises
   ☐ Idaho Jersey Girls Jerome Dairy




NOTICE OF APPEARANCE AND REQUEST FOR SERVICE - Page 1 of 5
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                      NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

        NOTICE IS HEREBY GIVEN that Louis Spiker of MILLER NASH LLP hereby enters an

 appearance on behalf of creditor, Standlee Ag Resources, and hereby requests that all notices

 given or required to be given in this case, and all papers served, or required to be served, be

 given to, and served upon:

        Louis Spiker
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        The forgoing requests all notices, copies, and pleadings referred to in Federal Rules of

 Bankruptcy Procedure 2002, including without limitation, notices of any orders, motions,

 demands, complaints, petitions, pleadings, or requests, applications, and any other documents

 brought before the Court in this case, whether formal or informal, written or oral, or

 transmitted or conveyed by mail, delivery, telephone, facsimile, or otherwise.

                DATED this 3rd day of May 2024.

                                                    MILLER NASH LLP



                                                    /s/ Louis Spiker
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                                      CERTIFICATE OF SERVICE

 I HEREBY CERTIFY that on the 3rd day of May, 2024, a true and correct copy of the foregoing

 document was filed with the Clerk of Court using the CM/ECF System which sent a Notice of

 Electronic Filing to those entities and individuals listed on the Court’s Electronic Mail Notice

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